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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                            February 20, 2025
                  IN THE UNITED STATES DISTRICT COURT
                                                                            Nathan Ochsner, Clerk
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

JOANNA BURKE,                              §
     Plaintiff,                            §
                                           §
v.                                         §
                                           §          Civil Action No. 4:24-CV-0897
                                           §
PHH MORTGAGE CORPORATION,                  §
    Defendant.                             §

                                       ORDER

       On January 23, 2025, the Court issued three Orders regarding Plaintiff’s

requests to file supplemental materials (ECF 54, 55, 56) and three Memoranda and

Recommendations, recommending the Plaintiff’s Motion to Dismiss be denied (ECF

57), Defendant’s Motion for Summary Judgment be granted (ECF 58), and Plaintiff

be declared a vexatious litigant (ECF 59). Prior to the expiration of the 14-day

objection period, Plaintiff filed “Plaintiff’s Motion to Stay or in the Alternative for

an Extension of Time Re ECF Entries 51-60.” ECF 61. She also filed “Plaintiff’s

Motion to Certify Questions to the Court of Appeals for the Fifth Circuit.” ECF 62.

Thereafter, Plaintiff filed objections to each January 23, 2025 Order and

Memorandum and Recommendation. The Court finds no good cause for issuing a

stay and an extension of time to file objections. Further, the Court has no authority

to “certify” a question to the Fifth Circuit. Plaintiff’s recourse is an appeal from a

final judgment in this case to the Fifth Circuit. It is therefore
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